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                                  UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF GEORGIA
                                          ATLANTA DIVISION

IN RE:                                                        )      CHAPTER 7
NIVEEN SABBAGH,                                               )      CASE NO. 15-72569
               DEBTOR.                                        )
-------------------------------------------------------------------------------------------------------------------------
NIVEEN SABBAGH,                                               )      CONTESTED MATTER
               MOVANT,                                        )
VS.                                                           )
AMERICAN EXPRESS BANK, FSB,                                   )
               RESPONDENT.                                    )

                      NOTICE OF REQUIREMENT OF RESPONSE TO MOTION
                      TO AVOID JUDGMENT LIEN AND TIME TO FILE SAME

       NOTICE IS HEREBY GIVEN that a Motion to Avoid Judicial Lien pursuant to 11 U.S.C. § 522
has been filed in the above styled case on Monday, January 18, 2016.

        NOTICE IS HEREBY GIVEN that, pursuant to Local Rule 6008-2 NDGA, the Respondent must
file a response to the motion within 21 days after service, exclusive of the day of service, and serve a
copy of same on Debtor’s Attorney. In the event that no response is timely filed and served, then the
Bankruptcy Court may enter an order granting the relief sought.

This Monday, January 18, 2016.

Respectfully submitted,

                        /s/
Charles M. Clapp, 101089
Attorney for Debtor
5 Concourse Parkway NE
Suite 3000
Atlanta, Georgia 30328
(404) 585-0040 (Office)
(404) 393-8893
charles@lawcmc.com
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                                  UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF GEORGIA
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IN RE:                                                        )      CHAPTER 7
NIVEEN SABBAGH,                                               )      CASE NO. 15-72569
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NIVEEN SABBAGH,                                               )      CONTESTED MATTER
               MOVANT,                                        )
VS.                                                           )
AMERICAN EXPRESS BANK, FSB,                                   )
               RESPONDENT.                                    )

                  MOTION TO AVOID JUDICIAL LIEN ON EXEMPT PROPERTY

        COMES NOW Niveen Sabbagh (“Debtor”), by and through their undersigned counsel, and

files this motion to avoid the judicial lien of American Express Bank, FSB (“Respondent”). In support,

Debtor offers the following:

                                                             1.

        The Debtor filed a petition for relief under Chapter 7 of the Bankruptcy Code on November 24,

2015. The Court has jurisdiction of this matter pursuant to 28 U.S.C. § 1334. This is a core proceeding

under 28 U.S.C. § 157(b).

                                                             2.

        This Motion is filed by the Debtor under 11 U.S.C. § 522(f)(1) to avoid a judicial lien which

purports to attach to Debtor’s property through action of law following a monetary judgment obtained

by Respondent.
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                                                      3.

       After the application of state exemptions to Debtor’s personal property, no unexempt equity

remains to which Respondent’s lien may attach. Accordingly, Respondent’s lien impairs Debtor’s

interest in property and should be avoided pursuant to 11 U.S.C. § 522(f)(1).



Wherefore, Movant prays:

   a. For a judgment against Respondent for the cancellation and avoidance of the said judicial lien;

   b. That the Trustee be directed to classify Respondent’s claim as general unsecured; and

   c. Such further relief as this Court deems just.

This Monday, January 18, 2016.

Respectfully submitted,

                        /s/
Charles M. Clapp, 101089
Attorney for Debtor
5 Concourse Parkway NE
Suite 3000
Atlanta, Georgia 30328
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                                    CERTIFICATE OF SERVICE

        The undersigned hereby states that I am more than eighteen years of age, and that on this day I
served a copy of the within “Notice of Requirement to Motion to Avoid Judicial Lien on Exempt
Property and Time to File Same” together with the “Motion to Avoid Judicial Lien” filed in this
Bankruptcy Case upon the Trustee electronically and upon the following by depositing a copy of same
in the United States Mail with sufficient certified postage thereon to ensure delivery:

Tamara Miles Ogier, Chapter 7 Trustee
Ogier, Rothschild & Rosenfeld PC
170 Mitchell St. S.W.
Atlanta, GA 30303

Niveen Sabbagh
120 Arden Place
Alpharetta, GA 30022

American Express Bank, FSB
4315 South 2700 West
Attn: Kenneth Chenault, C.E.O.
Salt Lake City, UT 84184
Via Certified Mail, 7014 2120 0003 2348 9079

This Monday, January 18, 2016.

Respectfully submitted,

                        /s/
Charles M. Clapp, 101089
Attorney for Debtor
5 Concourse Parkway NE
Suite 3000
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